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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA                                               PLAINTIFF

v.                                               CAUSE NO. 1:14CV224-LG-JCG

DAWN PROPERTIES, INC.;
SOUTHERN CROSS CONSTRUCTION
COMPANY, INC.; RIDGELAND
CONSTRUCTION ONE, LLC;
THE BEACH CLUB, LLC;
THE BEACH CLUB II, LLC;
THE BELMONT OF LAMAR, LLC;
GRAND BISCAYNE APTS., LLC;
SEAINN, LLC; and IKE THRASH                                        DEFENDANTS

AND

SUMMER MISS, LLC;
14510 LEMOYNE BOULEVARD, LLC;
LEXINGTON MILL MISSISSIPPI OWNER,
LLC; INN BY THE SEA HOME OWNERS
ASSOCIATION, INC.; RS BELMONT
APARTMENTS, LLC                                          RULE 19 DEFENDANTS

14510 LEMOYNE BOULEVARD, LLC                          CROSSCLAIM PLAINTIFF

v.

GRAND BISCAYNE APTS., LLC                           CROSSCLAIM DEFENDANT

AND

IKE THRASH                                      DEFENDANT TO CROSSCLAIM

                     AGREED JUDGMENT OF DISMISSAL

      The Court, having approved consent orders resolving all claims, and the

Court being advised that all parties have an informed understanding of their rights

and a full appreciation of the consequences of the subject consent orders, and the
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Court being desirous that this matter be finally closed on its docket;

      IT IS THEREFORE ORDERED AND ADJUDGED that this case is

hereby dismissed with prejudice as to all parties, with the parties to bear their own

costs. Pursuant to the agreement of the parties, the Court will retain jurisdiction

over this lawsuit for the purpose of enforcing these consent orders.

      SO ORDERED AND ADJUDGED this the 22nd day of February, 2017.

                                 s/   _Éâ|á Zâ|ÜÉÄt? ]ÜA
                                 Louis Guirola, Jr.
                                 Chief United States District Judge




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